     2:20-cv-03537-RMG         Date Filed 10/19/20      Entry Number 53       Page 1 of 25




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION




LEAGUE OF WOMEN VOTERS OF
SOUTH CAROLINA; THE FAMILY
UNIT, INC.; ALBERTUS CLEA, and
GEORGE HOPKINS,
                                                   Case No. 2:20-cv-03537-RMG
        Plaintiffs,

        v.

MARCI ANDINO, in her official capacity
as the Executive Director of the South
Carolina State Election Commission;
HOWARD M. KNAPP, in his official
capacity as Director of Voter Services of
the South Carolina State Election
Commission; JOHN WELLS, in his official
capacity as Chair of the South Carolina
State Election Commission; and JOANNE
DAY, CLIFFORD J. EDLER, LINDA
MCCALL and SCOTT MOSELEY, in their
official capacities as members of the South
Carolina State Election Commission,

        Defendants.


                            SECOND AMENDED COMPLAINT

                                       INTRODUCTION

       1.      Plaintiffs League of Women Voters of South Carolina, the Family Unit, Inc.,

Albertus Clea, and George Hopkins (collectively, “Plaintiffs”) bring this action for immediate

injunctive and declaratory relief against Executive Director of the South Carolina State Election

Commission Marci Andino, Director of Voter Services of the South Carolina State Election

Commission Howard M. Knapp, Chair of the South Carolina State Election Commission John




                                               1
     2:20-cv-03537-RMG          Date Filed 10/19/20        Entry Number 53      Page 2 of 25




Wells, and members of the South Carolina State Election Commission JoAnne Day, Clifford J.

Edler, Linda McCall and Scott Moseley (collectively, “Defendants”) because South Carolina’s

failure to provide absentee voters with notice and the opportunity to correct inadvertent minor or

technical deficiencies on their absentee ballot envelopes, and its prohibition on allowing

individual counties to provide voters with such a notice and opportunity, unconstitutionally

burden South Carolinians’ fundamental right to vote and deprives them of due process.

       2.      Following legislation passed by the South Carolina General Assembly on

September 15, 2020 (“Act 149”), allowing all qualified voters to vote absentee for the November

2020 General Election in light of the serious risks of in-person voting during the COVID-19

public health crisis, South Carolina expects a record-breaking number of voters casting absentee

ballots for the November 2020 General Election, including many first-time absentee voters. As

of September 30, 2020, approximately 500,000 mail-in absentee ballots had been requested by

South Carolina voters—roughly five times the previous record of 106,000 in 2016. The

Charleston County Board alone had received 46,300 ballot requests as of late August—nearly

five times the 9,700 received at the same point in 2016.

       3.      Absent intervention from this Court, however, many of these voters—and

absentee voters in future elections—will be disenfranchised as a result of South Carolina’s laws

governing absentee voting. State law requires election officials to reject absentee ballots that are

missing the voter’s signature on the outside of the ballot return envelope. S.C. Code. Ann. §§ 7-

15-230, 7-15-420. On information and belief, election officials in some counties are also

applying signature matching requirements to absentee ballots—meaning that they will reject

ballots where the signature does not “match” a voter signature on file—despite the fact that this

requirement is not provided for in South Carolina law. There is no opportunity for a voter to




                                                2
     2:20-cv-03537-RMG           Date Filed 10/19/20       Entry Number 53        Page 3 of 25




challenge or otherwise cure a ballot rejected on these grounds. See id. In fact, the voter is not

even required to be notified that his or her vote is rejected, before or after it happens. See id. § 7-

15-420(B). To make matters worse, state officials recently issued guidance stating that after an

absentee ballot is returned to a county elections office by mail, county officials may not of their

own accord give the voter an opportunity to cure deficiencies such as a missing signature on the

absentee ballot-return envelope. This prohibition not only makes South Carolina an outlier

nationally, but promises to ensure disenfranchisement of even more South Carolinians in

November.

       4.      The failure to provide voters with notice and an opportunity to cure signature-

related deficiencies violates voters’ constitutional rights and undermines the integrity of South

Carolina elections. It imposes a substantial burden on absentee voters’ right to vote by

automatically disenfranchising South Carolinians who validly cast and return their own ballots

but inadvertently forget to sign them, or use a signature that has changed due to physical or

environmental factors, without notice or any possibility of recourse.

       5.      Automatic rejection of absentee ballots under these circumstances is particularly

harsh, as the burden of providing a notice and cure process before rejecting absentee ballots due

to signature-related deficiencies is very low. Election staff have the capabilities to provide the

requisite notice to voters, and the disruption to the voting process is minimal. Moreover,

allowing for this additional process increases public confidence in the integrity of elections

because absentee voters—who have already completed, signed, and returned an absentee ballot

application—are permitted an opportunity to provide evidence of their eligibility to officials.

       6.      Plaintiffs thus seek modest, but vitally important, relief. Specifically, plaintiffs

request that Defendants direct county election officials to review absentee ballot envelopes and




                                                 3
     2:20-cv-03537-RMG          Date Filed 10/19/20       Entry Number 53        Page 4 of 25




provide pre-rejection notice to voters by first-class mail and, where available, by email or phone,

of any signature-related deficiency as soon as is practicable; and permit voters whose absentee

ballots are deficient on this ground to cure the deficiency up to three days following the

election—the time period already provided under South Carolina law for voters to cure certain

deficiencies in provisional ballots. Alternatively, Plaintiffs request that the Defendants instruct

county election officials to classify absentee ballots with signature-related deficiencies as

provisional so that they may be cured in accordance with existing procedures established under

South Carolina law.


                                           PARTIES

       7.      Plaintiff LEAGUE OF WOMEN VOTERS OF SOUTH CAROLINA

(“LWVSC”) is a nonpartisan, nonprofit, membership organization, and is an affiliate of the

League of Women Voters of the United States. LWVSC encourages informed and active

participation in government, works to increase understanding of major public policy issues, and

influences public policy through education and advocacy. LWVSC is dedicated to promoting

civic engagement and protecting democracy through advocacy, voter education, and voter

assistance. LWVSC has 1,288 members located in counties across the State of South Carolina.

As part of its mission, LWVSC advocates for expansion of voting opportunities, including

through absentee voting. LWVSC expends significant resources in furtherance of its mission,

including by organizing voter registration drives, educating the public about the voting process,

and assisting voters who have questions or need help navigating the voting process. LWVSC has

seen a substantial increase in the number of its members and other individuals that intend to vote

absentee in the upcoming November 2020 election in South Carolina because they are unable or

unwilling to vote in person due to the COVID-19 pandemic. Under S.C. Code Ann. § 7-15-




                                                4
     2:20-cv-03537-RMG          Date Filed 10/19/20       Entry Number 53         Page 5 of 25




420(B), these absentee voters face the risk that they will be deprived of the fundamental right to

vote if their ballots contain a signature-related deficiency such as a missing or mismatched

signature, with no notice or opportunity to cure the alleged deficiency. As a result of the risk of

disenfranchisement due to signature-related deficiencies, LWVSC must divert more resources

toward educating voters about the strict signature requirements, warning them of the risk of

automatic disenfranchisement without any notice, and answering questions from members of the

public after the election is over. For example, LWVSC members are advising South Carolina

voters with respect to how to complete their absentee ballot and voter oath correctly so their

ballots will be counted. LWVSC must also divert resources towards ensuring that all qualified

voters’ ballots will be counted, including by placing calls to county elections offices or

facilitating in-person voting. LWVSC must divert these resources away from its regular

advocacy, voter registration, fundraising, and other activities, affecting its ability to operate and

function with respect to its normal activities.

       8.      Plaintiff THE FAMILY UNIT, INC. (“The Family Unit”) is a 501(c)(3), non-

profit, charitable organization that was founded in December 2009. The Family Unit’s mission

is to help improve the well-being of people who live in poverty. Nearly all of the Family Unit’s

membership is African-American and many of its members are uninsured, elderly, disabled,

homeless, incarcerated, or ex-offenders released from incarceration. The Family Unit works to

improve classroom performance by students of color and those who are of other races, distributes

and disseminates educational documents such as the U.S. Constitution, and informs all persons,

particularly those who have been historically disenfranchised and victims of discrimination and

prejudice, about their constitutional rights. The Family Unit also conducts voter registration

drives, promotes voter participation, and assists individuals who need help navigating the voting




                                                  5
     2:20-cv-03537-RMG           Date Filed 10/19/20       Entry Number 53        Page 6 of 25




process. As a result of the risk of disenfranchisement of absentee voters due to signature-related

deficiencies, The Family Unit must divert more resources toward obtaining records from election

officials and identifying absentee voters who were disenfranchised after each election, including

those who were rejected due to a missing signature. The Family Unit contacts these voters,

informs them that they were disenfranchised, and helps to educate them to ensure their ballots

are not rejected in the future. The Family Unit must divert these resources away from its regular

advocacy, voter registration, education assistance, and other activities, affecting its ability to

operate and function with respect to its normal activities.

       9.      Plaintiff ALBERTUS CLEA is a South Carolina resident and registered voter in

Sumter County who has voted for many years. Mr. Clea is a Black man and a senior citizen. He

attempted to vote by absentee ballot in South Carolina’s June 26, 2018 primary runoff election.

After applying for and receiving an absentee ballot, Mr. Clea completed it and submitted it to

county election officials. He is limited in his literacy skills and did not understand the

instructions on the voter’s oath envelope. He did not know that he had to sign the voter’s oath

envelope, and thus did not sign it. Mr. Clea’s ballot was rejected by the Sumter County election

officials because it was unsigned. Mr. Clea was not contacted by the Sumter County Voter

Registration and Elections Office before, after, or during the June 2018 primary to inform him

that his ballot was unsigned or that it would be rejected as a consequence. In fact, Mr. Clea did

not learn that his ballot was rejected until 2020, when he was informed by Dr. Brenda C.

Williams of The Family Unit. Mr. Clea was shocked, disappointed, and saddened to learn that

his vote had not been counted and that he was disenfranchised. Mr. Clea intends to vote by

absentee ballot in the November 2020 general election, but fears election officials will disregard

his absentee ballot if he forgets to sign the voter’s oath envelope or makes any other error. Mr.




                                                 6
     2:20-cv-03537-RMG          Date Filed 10/19/20      Entry Number 53         Page 7 of 25




Clea also intends to vote in future elections, and would consider voting by absentee ballot so

long as he has some assurances that election officials will not reject his ballot due to a missing

signature or due to other minor discrepancies.

       10.     Plaintiff GEORGE HOPKINS is a South Carolina resident and has been an

eligible, registered voter in Charleston County since 1976. Mr. Hopkins is a retiree who suffered

a hemorrhagic stroke in August 2020, which weakened the muscles in his right hand and arm.

As a result, Mr. Hopkins has difficulties writing with his dominant hand, and his signature has

changed. Mr. Hopkins wants to vote in the upcoming November 2020 general election and he

filed a request for an absentee ballot for that contest months ago. However, his current signature

would not match the signature on his absentee ballot application, which he filled out in July

2020, or his signature on file with the County Board of Elections and Voter Registration. Mr.

Hopkins fears that he will be disenfranchised if he votes by mail and an election official

determines that his signature is invalid without any notice to him beforehand. He is therefore

being forced to choose between possible disenfranchisement and putting his health at risk, in

light of the ongoing COVID-19 public health crisis, in order to vote in person. Mr. Hopkins also

wishes to vote in future elections, and he will not do so by absentee ballot without assurance that

his ballot would not be rejected without any notice or opportunity to cure.

       11.     Defendant MARCI ANDINO is sued in her official capacity as Executive

Director of the South Carolina State Election Commission. The Executive Director is the Chief

Administrative Officer for the State Election Commission and is required by law to supervise the

County Boards of Elections and Voter Registration. S.C. Code Ann. § 7-3-20. In this role, she is

tasked with ensuring that those County Boards comply with state and federal law in conduct of

elections and voter registration. Id. at § 7-3-20(C).




                                                 7
     2:20-cv-03537-RMG          Date Filed 10/19/20      Entry Number 53        Page 8 of 25




       12.     Defendant JOHN WELLS is the Chair of the South Carolina Election

Commission and is sued in his official capacity. Defendants JOANNE DAY, CLIFFORD J.

EDLER, LINDA MCCALL and SCOTT MOSLEY are members of the South Carolina Election

Commission and are sued in their official capacities. The Executive Director serves at the

pleasure of the South Carolina Election Commission. S.C. Code Ann. § 7-3-20(A). The South

Carolina Election Commission is responsible for carrying out all laws related to absentee

registration and voting and with promulgating relevant regulations. Id. § 7-15-10. The

enumerated mission of the Commission is, in relevant part, to ensure that every eligible citizen

has the opportunity to participate in fair and impartial elections with the assurance that every

vote will count.


                               JURISDICTION AND VENUE

       13.     Plaintiffs bring this action pursuant to 42 U.S.C. § 1983 and the First and

Fourteenth Amendments to the United States Constitution.

       14.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1343(a).

       15.     This Court has jurisdiction to grant both declaratory and injunctive relief pursuant

to 28 U.S.C. §§ 2201 and 2202.

       16.     This Court has personal jurisdiction over the Defendants, who are sued only in

their official capacities as officials of the State of South Carolina. The Defendants are statewide

officials charged with implementing and enforcing the election laws of South Carolina

throughout the state, including in this District. The violations complained of concern their

conduct in such capacity.




                                                8
     2:20-cv-03537-RMG            Date Filed 10/19/20      Entry Number 53         Page 9 of 25




        17.     Venue in the District of South Carolina is proper pursuant to 28 U.S.C. § 1391

and Local Civ. Rule 3.01 (D.S.C.) because a substantial part of the events or omissions giving

rise to Plaintiffs’ claims occurred and will occur in this judicial district, and because all

defendants are residents of South Carolina and a substantial number of LWVSC members reside

within this judicial district.


                                   FACTUAL BACKGROUND

                                 Absentee Voting in South Carolina

        18.     The South Carolina Constitution guarantees that “every inhabitant of this State

possessing the qualifications provided for in this Constitution shall have an equal right to elect

officers and be elected to fill public office.” S.C. Const. Art. I, § 5. To that end, the South

Carolina Constitution requires that the “General Assembly shall provide for… absentee voting.”

S.C. Const. art. II, § 10. Absentee voting in South Carolina is primarily governed by Title 7,

Chapter 15 of the South Carolina Code. By its own terms, Title 7, Chapter 15 requires the

articles governing absentee registration and voting to be “liberally construed in order to

effectuate their purpose.” S.C. Code. Ann. § 7-15-20.

        19.     Until recently, absentee voting in South Carolina was limited to individuals who

met specific criteria that excused them from voting in-person in South Carolina. Id. § 7-15-320.

On September 16, 2020, South Carolina Governor Henry D. McMaster signed bill G.5305/R.149

into law, expanding absentee voting to all qualified voters for the upcoming November 3, 2020

general election only.

        20.     To vote by absentee ballot under the existing South Carolina absentee ballot

provisions, qualified voters must first request an absentee ballot by filling out an application

form. S.C. Code Ann. § 7-15-330.




                                                 9
    2:20-cv-03537-RMG           Date Filed 10/19/20          Entry Number 53    Page 10 of 25




       21.     The completed application must be returned to the County Board of Voter

Registration and Elections in person or by mail by 5:00 p.m. on the fourth day before the

election, except that the County Board must accept applications received by 5:00 p.m. the day

immediately preceding the election, if the voter appears in person and is qualified to vote by

absentee ballot. Id. The application form must include the voter’s signature attesting to the

correctness of the information provided on the form, the voter’s name, registration certificate

number, address, absentee address, election of ballot request, election date, runoff preference,

party preference, reason for request, and a sworn oath that the voter is registered to vote and is

the person who seeks to vote by absentee ballot. Id. § 7-15-340.

       22.     Once the County Board approves an application, officials must, as soon as

possible, send the absentee voter a packet containing the ballot, instructions for marking and

returning the ballot and signing and returning the required oath, an envelope marked “Ballot

Herein” into which the voter will place the completed ballots, a return-addressed envelope

containing an oath on the back to be signed by the voter, which the voter will use to return the

interior ballot envelope to the board of voter registration and elections, and any other materials

necessary to enable the absentee ballot applicant to execute and return a ballot legally acceptable

by the officials charged with conducting the election. Id. § 7-15-370.

       23.     The return envelope that must be sent with each absentee ballot pursuant to

Section 7-15-370 must have printed on its face in the upper left corner the words “Absentee

ballots for ______ County, ________ (county seat), South Carolina.” Id. § 7-15-375 (2020).

That information and other blanks on the front of the envelope are filled in by the county board

prior to issuing the absentee ballot to the applicant. Id.




                                                10
    2:20-cv-03537-RMG          Date Filed 10/19/20       Entry Number 53        Page 11 of 25




       24.     The back of the return envelope has blanks for the voter to fill in his or her name

and address, and for the voter to sign the oath. Id. §§ 7-15-375, 7-15-380. That oath states: “I

hereby swear (or affirm) that I am duly qualified to vote at this election according to the

Constitution of the State of South Carolina, that I have not voted during this election, that the

ballot or ballots contained in this envelope is my ballot and that I have received no assistance in

voting my ballot that I would not have been entitled to receive had I voted in person at my voting

precinct.” Id. § 7-15-380.

       25.     All absentee ballots must be received by the county voter registration office or

extension office by 7:00 p.m. on Election Day, Tuesday, November 3, 2020. The state board of

elections allows voters to check the status of their absentee ballots online.

       26.     Ordinarily, at 9:00 a.m. on the calendar day immediately preceding Election Day,

election officials may begin the process of examining the return-addressed envelopes that have

been received by the county board of voter registration and elections. Id. § 7-15-420(B). All

return-addressed envelopes received by the county board of voter registration and elections

before the polls close must be examined in this manner. Id.

       27.     A ballot may not be counted unless the oath is properly signed, nor may any ballot

be counted which is received by the County Board of Voter Registration and Elections after the

polls close. Id. After all return-addressed envelopes have been emptied, but no earlier than

9:00 a.m. on Election Day, the election managers remove the ballots contained in the envelopes

marked “Ballot Herein” and place them in the ballot box provided for the applicable contest. Id.

§ 7-15-420(C). Beginning at 9:00 a.m. on Election Day, the absentee ballots may be tabulated.

Id. § 7-15-420(D).




                                                11
    2:20-cv-03537-RMG          Date Filed 10/19/20       Entry Number 53       Page 12 of 25




       28.     South Carolina law mandates that specific procedures be followed when an

absentee voter’s qualifications are challenged during this tabulation process. State law provides

that “[i]f any ballot is challenged, the return-addressed envelope must not be opened, but must be

put aside and the procedure set forth in Section 7-13-830 must be utilized; but the absentee voter

must be given reasonable notice of the challenged ballot.” Id. § 7-15-420(D). In the case of a

challenged absentee ballot, the unopened return-addressed envelope must be placed in an

envelope on which must be written the name of the voter and that of the challenger. Id. § 7-13-

830. A challenged vote becomes a provisional vote that is separated and not counted, but is

turned over to county election officials. Id. These challenged votes are then addressed at

meetings of election officials required by South Carolina law, and if the challenges are not

sustained by the challenger, the ballot is no longer considered provisional, and is counted in the

total election returns. Id. As of now, this procedure is not guaranteed for voters whose absentee

ballots are rejected for signature-related deficiencies., though nothing in South Carolina law

would prevent county election officials from providing pre-rejection notice and a cure process

for ballots rejected on these grounds.

       29.     However, on or about October 7, 2020, Defendant Andino, Executive Director of

the South Carolina State Election Commission, issued a directive prohibiting county officials

from providing cure opportunities to voters who failed to sign the oath on the absentee ballot

return envelope.

       30.     On or about October 7, 2020, Defendant Andino issued a directive on the

ElectionNet platform used by state and local election officials in South Carolina on behalf of the

Commission stating that “… after an absentee ballot is returned to your office by mail, the voter

cannot be given the opportunity to cure deficiencies.”




                                               12
    2:20-cv-03537-RMG         Date Filed 10/19/20       Entry Number 53       Page 13 of 25




       31.     According to State Election Commission director of public information Chris

Whitmire and Richland County Board of Voter Registration and Elections member Duncan

Buell, deficient ballot return envelopes are not opened or counted. Additionally, voters who

submit deficient absentee ballot return envelopes are prohibited from voting in person and

cancelling their deficient ballot. These voters are thus effectively disenfranchised by Defendant

Andino’s Directive.


       Increased Use of Absentee Ballots in South Carolina and Past Rejection Data

       32.     South Carolina expects a record shattering increase in the number of absentee

ballots cast during the upcoming general election.

       33.     In a July 17, 2020 letter to state legislative leaders, Defendant Andino explained

that mail-in absentee voting for South Carolina’s June 2020 primaries increased by 370%

compared to the 2016 primaries, and predicted that if that trend continues, more than one million

ballots will be cast by mail in the November election. Letter from Marci Andino, Exec. Dir.,

S.C. Election Comm’n, to Harvey Peeler Jr., President, S.C. Senate, and Jay Lucas, Speaker,

S.C. House of Representatives 2 (July 17, 2020), https://my.lwv.org/sites/default/files/sec_2020-

07-17_letter_to_gen_assembly_covid_changes_for_ge_final.pdf. As of September 30, 2020,

nearly 500,000 mail-in absentee ballots had been requested by South Carolina voters—

approximately five times the previous record of 106,000 in 2016. See Nic Jones, Record number

of absentee voters in South Carolina continues to grow, News 19-WLTX, (Sept. 30, 2020),

https://www.wltx.com/article/news/politics/elections/record-number-of-absentee-voters-in-south-

carolina-continues-to-grow/101-aa3e73b4-8ac1-4b93-9e05-7ac413886a1b; Chase Laudenslager,

SC Board of Elections reports record breaking number of absentee ballots, Count On News 2




                                              13
    2:20-cv-03537-RMG          Date Filed 10/19/20      Entry Number 53        Page 14 of 25




(Sept. 4, 2020), https://www.counton2.com/news/your-local-election-hq/sc-board-of-elections-

reports-record-breaking-number-of-absentee-ballots/.

       34.     According to Chris Whitmire, the South Carolina Election Commission public

information director, the state could see as many as 1.5 million people vote absentee, with over

one million of them voting absentee by mail-in ballot. Julia Kauffman, South Carolina Prepares

for Influx of Absentee Voters, News19-WLTX (Aug. 21, 2020),

https://www.wltx.com/article/news/politics/elections/south-carolina-prepares-for-influx-of-

absentee-voting/101-891899fd-39cf-4e95-a7bf-ea2d5c6d7975. Whitmire has also stated that the

previous records for absentee voting were around 520,000 absentee votes total and around

140,000 absentee votes by mail. Id. In 2016, a total of 502,819 people voted absentee,

representing 23.7% of the 2,123,584 total ballots cast. South Carolina Election Commission,

Absentee Voting History, South Carolina Election Commission Fact Sheets,

https://www.scvotes.gov/sites/default/files/Absentee%20Voting%20History%20(1998-

2018)_0.pdf (last accessed October 2, 2020). Even if in-person voter turnout in South Carolina

increases in 2020 as compared to 2016, the number of absentee ballots is projected to double.

       35.     According to Director of Voter Registration and Elections for Richland County,

Alexandria Stephens, county offices of voter registration and elections are hiring additional staff

and opening satellite offices to prepare for an increased number of absentee ballots. Kauffman,

South Carolina Prepares for Influx of Absentee Voters, News19-WLTX.

       36.     After the 2020 General Election, absentee ballot numbers are likely to remain

above pre-2020 rates even if the South Carolina Legislature does not renew the temporary

expansion of absentee voting. Elections in 2021 and beyond may continue to be affected by the

COVID-19 pandemic, particularly for voters who are at high risk due to their age or certain




                                               14
    2:20-cv-03537-RMG          Date Filed 10/19/20       Entry Number 53      Page 15 of 25




medical conditions. Further, prior to the 2020 election cycle and the emergence of the pandemic,

voters’ reliance on absentee and mail-in voting was steadily rising across the United States. See

Voting by Mail and Absentee Voting, MIT Election Data and Science Lab,

https://electionlab.mit.edu/research/voting-mail-and-absentee-voting.

       37.     During the 2016 General Election, South Carolina voters cast 497,436 absentee

ballots, of which 2,907 were rejected. Election Administration and Voting Survey Datasets

(“EAVS 2016”) (2016), https://www.eac.gov/research-and-data/datasets-codebooks-and-surveys.

A total of 261 ballots were rejected because the voter’s signature was missing. Id. Likewise,

during the 2018 election, South Carolina voters cast 72,806 absentee ballots, of which 2,248

were rejected. See Election Administration and Voting Survey Dataset 2018 Version 1.3

(“EAVS 2018”) (Feb. 18, 2020), https://www.eac.gov/research-and-data/datasets-codebooks-

andsurveys. Of these rejections, 140 were due to the voter’s missing signature. Id. None of

these voters were required to be notified that their ballot was rejected.

       38.     The EAVS data shows that the rates at which absentee ballots are rejected due to

a missing signature vary based on the voter’s county of residence and other factors, indicating a

lack of consistency in how missing signatures are treated across the state. Some counties reject

significant numbers of absentee ballots due to a missing signature while others reject none. In

Charleston County, three absentee ballots were rejected in 2016 and zero absentee ballots were

rejected in 2018 due to a missing signature, even though Charleston County voters cast more

than 58,000 and 11,000 absentee ballots, respectively, in those elections. EAVS 2016; EAVS

2018. By contrast, in 2016 alone, there were 21 missing-signature rejections in Berkeley County

(out of 15,643 absentee ballots cast), 14 such rejections in Dorchester County (out of 14,936

absentee ballots cast), 11 in Greenwood County (out of 6,890 absentee ballots cast), and 10 in




                                                15
    2:20-cv-03537-RMG           Date Filed 10/19/20      Entry Number 53         Page 16 of 25




Marion County (out of 3,542 absentee ballots cast), even though there were substantially fewer

numbers of absentee ballots cast in those counties. EAVS 2016. In 2018, there were 25 missing-

signature rejections in Orangeburg County even though voters cast relatively few absentee

ballots (2,084) in that election. EAVS 2018.

       39.     On information and belief, Charleston County election officials have provided

pre-rejection notice and an opportunity to cure to voters whose absentee ballots are rejected due

to a signature-related deficiency in past elections. The EAVS data thus confirms that providing

notice and an opportunity to cure prevents erroneous voter disenfranchisement. On information

and belief, Charleston County election officials were providing pre-rejection notice and an

opportunity to cure for this November’s election prior to Defendant Andino’s Directive.

       40.     There is no consistent, statewide process governing signature matching for

absentee ballots, and election officials in some counties have indicated that they will impose a

signature matching requirement while others have not.

       41.     Greenville County election officials are implementing a signature match

requirement for the November 2020 election using paid personnel.

       42.     At a meeting of the Richland County Board of Elections on October 1, 2020,

election officials described plans to hire a vendor, Tritek Technologies, Inc., to institute a

computerized signature verification process for absentee ballots. The particularities of this

process, and whether other counties will implement similar processes, are unknown.

       43.     Relying on signature verification is an inherently flawed means of determining

whether an absentee or mail ballot was fraudulently or inappropriately cast. No two signatures

are identical, even if provided by the same signer. Indeed, a wide variety of factors may cause

the appearance of a person’s signature to vary from one signing to another, including physical




                                                16
    2:20-cv-03537-RMG           Date Filed 10/19/20       Entry Number 53      Page 17 of 25




and mental factors such as a person’s age, level of health, stress, change in physical or mental

condition, eyesight, or use of medications, and environmental factors, such as the type of writing

utensil, surface, or paper the signatory uses.

       44.      Signature matching is also highly prone to error, particularly when conducted by a

layperson without sufficient training in handwriting analysis. In one study, laypersons—as

compared to Forensic Document Examiners—incorrectly concluded that signatures were

inauthentic 26% of the time. Moshe Kam et al., Signature Authentication by Forensic Document

Examiners, 46 J. FORENSIC SCI. 884 (2001),

       45.      Given the record number of absentee ballots that will be cast in the November

2020 general election, South Carolina officials will likely reject a record number of absentee

ballots due to signature-related deficiencies without voters even being aware that their vote was

tossed aside.

       46.      Much of the increase in mail-in absentee votes is likely to come from voters who

are availing themselves of this method of voting for the first time. Such voters are more likely to

make inadvertent errors resulting in the rejection of their ballots.

       47.      If hundreds or perhaps thousands of absentee ballots are rejected for signature-

related deficiencies, such as a missing or mismatched signature, that result could be significant

and even outcome determinative. Indeed, it is not uncommon for elections in South Carolina to

be decided by a matter of just several hundred votes. For example, a June 9, 2020 Greenville

City Council District 22 Republican primary between Stan Tzouvelekas and Kenneth Cosgrove

was decided by three votes. Anna B. Mitchell, Greenville County Council candidates concedes

District 22 victory to Stan Tzouvelekas, Greenville News, June 12, 2020,

https://www.greenvilleonline.com/story/news/2020/06/11/greenville-county-council-race-flips-




                                                 17
    2:20-cv-03537-RMG           Date Filed 10/19/20       Entry Number 53        Page 18 of 25




again-count-provisional-ballots/5342472002/. Similarly, a June 14, 2016 primary runoff election

for South Carolina House District 81 between Bark Blackwell and K.T. Ruthven was decided by

thirty-three votes. South Carolina 2016 Primary Runoff Election Results, South Carolina

Election Commission, https://www.enr-scvotes.org/SC/62799/173206/en/summary.html.


                                    CLAIMS FOR RELIEF

   Count I: The Challenged Provisions Result in the Denial of Procedural Due Process in
                        Violation of the Fourteenth Amendment

       48.     Plaintiffs reallege and incorporate by reference the allegations in the preceding

paragraphs.

       49.     The United States Constitution prohibits states from depriving “any person of . . .

liberty . . . without due process of law . . ..” U.S. Const. amend. XIV, § 1. Although there is no

constitutional right to vote by absentee ballot, once the state creates an absentee voting regime,

its citizens retain a liberty interest in voting by absentee ballot, and any state laws governing that

regime must comply with the Due Process Clause. See Wilkinson v. Austin, 545 U.S. 209, 221

(2005) (“A liberty interest may arise from the Constitution itself . . . or it may arise from an

expectation or interest created by state laws or policies.”).

       50.     Where an individual’s liberty interest is at stake, the court must determine what

process is due by applying the three-factor test announced in Mathews v. Eldridge. 424 U.S.

319, 335 (1976). That test requires balancing: (i) the private interest affected by the official

action; (ii) the risk of an erroneous deprivation and “the probable value, if any, of additional or

substitute procedural safeguards”; and (iii) the governmental interest, including “the function

involved and the fiscal and administrative burdens that the additional or substitute procedural

requirement[s] would entail.” Id.




                                                18
    2:20-cv-03537-RMG            Date Filed 10/19/20      Entry Number 53        Page 19 of 25




        51.     S.C. Code Ann. § 7-15-420 violates the Due Process Clause by mandating the

rejection of absentee ballots with signature-related deficiencies, without providing procedural

due process to voters in the form of pre-rejection notice and an opportunity to cure the

deficiency.

        52.     The private interest at stake in having one’s vote counted is substantial. It is well-

settled that the right to vote is a precious “fundamental political right” because it is “preservative

of all rights.” Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886).

        53.     In every major election, election officials across South Carolina are

disenfranchising hundreds of eligible absentee voters due to a missing or mismatched signature

on the outer absentee ballot envelope without providing any notice to them or an opportunity to

cure the error. South Carolina law provides for the automatic rejection of these ballots due to

these minor, technical deficiencies without an opportunity to cure even though the voter already

completed, signed, and submitted an absentee ballot application and their absentee ballot

otherwise complies with South Carolina law. Defendant Andino’s Directive makes such

rejections mandatory, depriving county officials of discretion to offer voters an opportunity to

cure ballots that would otherwise be discarded.

        54.     There is a substantial risk of erroneously depriving an individual of their right to

vote by authorizing state officials to reject ballots from qualified, registered voters due to

inadvertent errors. Providing voters with pre-rejection notice and an opportunity to cure

signature-related deficiencies would minimize the risk that the state will deny qualified voters

their validly-cast votes in error.

        55.     The governmental interest in maintaining the integrity of an election also weighs

in favor of extending notice and an opportunity to cure a signature-related deficiency, as the




                                                19
    2:20-cv-03537-RMG           Date Filed 10/19/20       Entry Number 53        Page 20 of 25




integrity of an election depends on counting all ballots that are legitimately cast. Further,

extending notice and an opportunity to cure better serves any governmental interest in preventing

fraud, because it allows qualified voters to confirm their identity rather than the state erroneously

concluding that another individual has submitted their ballot.

       56.     Any additional burden the government may incur would be minimal. In the case

of missing signatures, officials receiving absentee ballot return-addressed envelopes can easily

and immediately tell if there is a deficiency because the relevant signatures are on the outside of

these envelopes. Absentee ballot applications are kept on file by the County Board of Voter

Registration and Elections, and can be traced to any individual absentee ballot. The state

therefore possesses the information necessary to provide notice as promptly as practicable to

voters whose ballot envelopes contain a signature-related deficiency.

       57.     Further, South Carolina already has a notice process for provisional ballots cast

by voters whose qualifications have been challenged by poll workers, and the state allows voters

who cast provisional ballots to remedy certain deficiencies at a hearing the Friday after the

election. S.C. Code Ann. §§ 7-13-830, 7-17-10. Under existing deadlines, state officials would

have ample time to notify voters of signature-related deficiencies and allow them the opportunity

to cure those deficiencies.

       58.     Plaintiffs’ requested relief would alter neither the timeline nor procedure for

voters to return their ballots. Pre-rejection notice and an opportunity to cure are already available

to those who cast ballots that are challenged for other reasons, namely, a suspected lack of voter

qualifications. There is no legitimate state interest justifying South Carolina’s failure to either

provide a similar cure period for ballots with signature-related deficiencies, or extend the




                                                20
    2:20-cv-03537-RMG          Date Filed 10/19/20      Entry Number 53        Page 21 of 25




existing cure process for provisional ballots to absentee voters whose ballots contain a signature-

related deficiency.


 Count II: The Challenged Provisions Burden the Fundamental Right to Vote in Violation
                       of the First and Fourteenth Amendments

       59.     Plaintiffs reallege and incorporate by reference the allegations in the preceding

paragraphs.

       60.     The First and Fourteenth Amendments to the United States Constitution protect

the fundamental right to vote. See Anderson v. Celebrezze, 460 U.S. 780, 788 (1983); Burdick v.

Takushi, 504 U.S. 428, 433 (1992). A state government may not burden the right to vote without

adequate justification. S.C. Code Ann. § 7-15-420 imposes a substantial burden on voters’ rights

by mandating the rejection of absentee ballots with signature-related deficiencies without

providing notice or an opportunity to cure. Defendant Andino’s Directive exacerbates that

burden by preventing county officials from offering voters such an opportunity if they believe it

is merited under the circumstances.

       61.     The failure to provide a consistent, state-wide process for notifying voters of a

missing or mismatched signature and allowing voters a chance to cure these deficiencies – and

now an outright prohibition on utilizing any such process for the November 2020 election –

imposes a substantial burden on the right to vote. It arbitrarily disenfranchises hundreds of

eligible South Carolina absentee voters in election after election due to minor signature-related

deficiencies. The failure to provide pre-rejection notice and an opportunity to cure also

adversely impacts the integrity of the election process, which depends on every qualified voter’s

vote being counted.

       62.     No governmental interest justifies the failure to provide voters with notice and an

opportunity to cure a signature-related deficiency in their absentee ballots. South Carolina



                                               21
    2:20-cv-03537-RMG             Date Filed 10/19/20     Entry Number 53         Page 22 of 25




already maintains a similar notice process for provisional ballots that contain an identity or

qualification challenge, and the state allows voters who cast those provisional ballots to remedy

those deficiencies in their ballots up to three days after the election. Thus, any interest in

election administration is minimal, and does not outweigh the burden on voters.

       63.     Providing notice and an opportunity to cure signature-related deficiencies is likely

to further the state’s interest in maintaining voters’ confidence in the integrity of the electoral

process by ensuring that qualified voters do not see their ballots rejected erroneously or because

of inadvertent error. Allowing voters an opportunity to verify their ballots also furthers the

state’s interest in preventing voter fraud by allowing the state to confirm the identity of voters

before their votes are counted.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request that this Court:

       a.      Issue a judgment declaring that S.C. Code Ann. § 7-15-420 and Defendant

Andino’s Directive deprive voters of procedural due process in violation of the Fourteenth

Amendment and impose an undue burden on the right to vote in violation of the First and

Fourteenth Amendments to the Constitution of the United States to the extent that they

disenfranchise absentee voters without first providing them with notice and an opportunity to be

heard or to otherwise cure alleged signature-related deficiencies;

       b.      Issue preliminary and permanent injunctions enjoining the Defendants from

enforcing S.C. Code Ann. § 7-15-420 and Defendant Andino’s Directive to the extent that they

fail to provide absentee voters with pre-rejection notice and a hearing or other opportunity to

resolve signature-related deficiencies; specifically, Plaintiffs request that Defendants direct

county election officials to review absentee ballot envelopes and provide pre-rejection notice to




                                                22
      2:20-cv-03537-RMG        Date Filed 10/19/20       Entry Number 53        Page 23 of 25




voters by first-class mail and, where available, by email or phone, of any signature-related

deficiency; and permit voters whose absentee ballots are deficient on this ground to cure the

deficiency up to three days following the election. Alternatively, Plaintiffs request that the

Defendants instruct election officials to expand the existing process through which voters may

cure certain deficiencies in their provisional ballots up to the statutorily-mandated meetings on

the Friday following the election to include absentee ballot deficiencies based on missing or

mismatched signature; and that the Defendants update their election guides, manuals, guidance,

instructional materials, etc., to conform with the revised procedures;

        c.     Award reasonable attorneys’ fees and costs to Plaintiffs under 42 U.S.C. § 1988;

and

        d.     Grant any additional or alternative relief the Court may deem appropriate under

the circumstances.

Dated: October 19, 2020                       Respectfully submitted,


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                                               23
2:20-cv-03537-RMG   Date Filed 10/19/20   Entry Number 53      Page 24 of 25




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                                 24
    2:20-cv-03537-RMG         Date Filed 10/19/20   Entry Number 53      Page 25 of 25




                               CERTIFICATE OF SERVICE


        I certify that on October 19, 2020, I filed a copy of the above Motion, accompanying

Memorandum of Law, and Exhibit A, with the Court’s electronic filing system, which will send

notice to:


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                                           25
